  Case 2:13-cv-14335-MFL-PJK ECF No. 1, PageID.1 Filed 10/14/13 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

LUIS CABAN,
      Plaintiff,
-vs.-                                               DEMAND FOR JURY TRIAL


RIEXINGER & ASSOCIATES
      Defendant.
__________________________________



                               COMPLAINT & JURY DEMAND

       Plaintiff, Luis Caban through counsel, Nitzkin and Associates, by Gary Nitzkin states the

following claims for relief:




                                      JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act (“FDCPA”), 15

       U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.

   2. This court may exercise supplemental jurisdiction over the related state law claims

       arising out of the same nucleus of operative facts which give rise to the Federal law

       claims.




                                          PARTIES

   3. The Defendant to this lawsuit is Riexinger & Associates, LLC which is a Georgia

       company that maintains registered offices in Gwinnett County, Georgia.



                                                1
Case 2:13-cv-14335-MFL-PJK ECF No. 1, PageID.2 Filed 10/14/13 Page 2 of 5




                                        VENUE

4. The transactions and occurrences which give rise to this action occurred in Wayne

   County.

5. Venue is proper in the Eastern District of Michigan.




                           GENERAL ALLEGATIONS


6. Defendant is attempting to collect a consumer type debt allegedly owed by Plaintiff to

   Best Buy in the amount of about $1,300.00.

7. The last time that Plaintiff made a payment on this debt was in 2006.

8. The Bureaus, Inc., another debt collector, previously attempted to collect this alleged

   debt. However, sometime during the week of September 23, 2013, The Bureaus, Inc. told

   Plaintiff that it referred the account to a law firm called Riexinger & Associates. The

   Bureaus, Inc. provided Plaintiff with Riexinger & Associates’ phone number.

9. On or about September 26, 2013, Plaintiff called Defendant. During this conversation,

   Defendant told Plaintiff that he owed $1,300.00. Defendant said to Plaintiff, “We need a

   settlement; do you want to offer anything?” Plaintiff said, “I’m going to tell you the

   same thing that I told Capital One and that I told to the Bureaus, Inc. My debt was only

   $750.00 and I do not feel I owe this much.” Defendant explained to Plaintiff that he owed

   this much due to interest and fees. Plaintiff offered to settle this account for $750.00 and

   Defendant refused. Plaintiff asked, “How are you going to collect on an account that I

   have tried to settle for the past 5 years?” Defendant said, “We are going to have to

   resolve it or we are going to have to take action on it.”


                                             2
Case 2:13-cv-14335-MFL-PJK ECF No. 1, PageID.3 Filed 10/14/13 Page 3 of 5




10. On or about September 27, 2013, Defendant called Plaintiff and offered to settle for

   $1,000. However, Plaintiff only offered to settle for $750.00.

11. On or about September 30, 2013, Defendant called Plaintiff around 9:00 a.m. During this

   conversation, Plaintiff said, “You have to stop calling me.” Defendant said, “We are not

   going to stop calling.” Plaintiff then said, “Ok, then I am going to send you a cease and

   desist letter.” After Plaintiff said this, Defendant said, “We will continue to call you.”

12. To date, Plaintiff has not received anything in writing from Defendant.




       COUNT I - FAIR DEBT COLLECTION PRACTICES ACT

13. Plaintiff reincorporates the preceding allegations by reference.

14. At all relevant times Defendant, in the ordinary course of its business, regularly engaged

   in the practice of collecting debts on behalf of other individuals or entities.

15. Plaintiff is a "consumer" for purposes of the FDCPA and the account at issue in this case

   is a consumer debt.

16. Defendant is a "debt collector" under the Fair Debt Collection Practices Act ("FDCPA"),

   15 U.S.C. §1692a(6).

17. Defendant's foregoing acts in attempting to collect this alleged debt violated 15 U.S.C.

   §1692 et. seq; including e(5) Threatening to take an action that cannot legally be taken by

   threatening to call Plaintiff after he sends out a cease and desist letter.

18. The Plaintiff has suffered economic, emotional, general and statutory damages as a result

   of these violations of the FDCPA.




                                              3
Case 2:13-cv-14335-MFL-PJK ECF No. 1, PageID.4 Filed 10/14/13 Page 4 of 5




COUNT II - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

 19. Plaintiff incorporates the preceding allegations by reference.

 20. Defendant is a "collection agency" as that term is defined in the Michigan Occupational

    Code ("MOC"), M.C.L. § 339.901(b).

 21. Plaintiff is a debtor as that term is defined in M.C.L. § 339.901(f).

 22. Defendant’s foregoing acts in attempting to collect this alleged debt violated MCL

    §339.915

 23. Plaintiff has suffered damages as a result of these violations of the Michigan

    Occupational Code.

 24. These violations of the Michigan Occupational Code were willful.



    COUNT III - VIOLATION OF THE MICHIGAN COLLECTION
                       PRACTICES ACT

 25. Plaintiff incorporates the preceding allegations by reference.

 26. Defendant is a "Regulated Person" as that term is defined in the Michigan Collection

    Practices Act ("MCPA"), at MCL § 445.251.

 27. Plaintiff is a "Consumer" as that term is defined at MCL § 445.251.

 28. Defendant’s foregoing acts in attempting to collect this alleged debt violated MCL

    §445.252

 29. Plaintiff has suffered damages as a result of these violations of the MCPA.

 30. These violations of the MCPA were willful.



                            DEMAND FOR JURY TRIAL


                                               4
  Case 2:13-cv-14335-MFL-PJK ECF No. 1, PageID.5 Filed 10/14/13 Page 5 of 5




       Plaintiff demands trial by jury in this action.



                     DEMAND FOR JUDGMENT FOR RELIEF



   Accordingly, Plaintiff requests that the Court grant him the following relief against the

defendant:

   a. Actual damages.

   b. Statutory damages.

   c. Treble damages.

   d. Statutory costs and attorney fees.



Respectfully submitted,


                                      /s/ Gary Nitzkin
October 12, 2013                      GARY D. NITZKIN P41155
                                      TRAVIS SHACKELFORD P68710
                                      MICHIGAN CONSUMER CREDIT LAWYERS
                                      Attorneys for Plaintiff
                                      22142 West Nine Mile Road
                                      Southfield, MI 48033
                                      (248) 353-2882
                                      Fax (248) 213-6397
                                      Email – gary@micreditlawyer.com




                                                  5
